Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1046 Page 1 of 9



 1   DOUGLAS C. BROWN, 85995
     225 BROADWAY, STE 2100
 2   SAN DIEGO, CA. 92101
     619 231-6158
 3   DCBROW@PACBELL.NET
 4   ATTORNEY AT LAW
 5
 6
 7
                            UNITED STATES DISTRICT COURT
 8
                         SOUTHERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                  21CR2546-31-GPC
11
            Plaintiff,                          NOTICE OF MOTION AND
12                                              MOTION TO REVEAL SOURCE OF
     v.                                         INFORMATION/INFORMANT
13
     RAMIRO GAXIOLA,
14                                                June 27, 2022
            Defendant.                             2 p.m.
15
16
17
18        The defendant, by and through counsel, hereby moves for the government to
19   disclose its Source of Information/Informant as described in ancillary Complaints.
20
                                   MOTION
21
                 MOTION TO REVEAL CONFIDENTIAL INFORMANT
22
     I.
23
     THE COURT SHOULD ORDER THE GOVERNMENT TO REVEAL THE
24
     IDENTITY OF THE CONFIDENTIAL INFORMANT AND TO DISCLOSE
25
           TO DEFENSE COUNSEL OTHER PERTINENT INFORMATION
26
                         REGARDING THE INFORMANT OR SOI
27
          It is well established that an informant's identity must be disclosed when an
28
     informant's testimony is "relevant and helpful to the defense of an accused."
Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1047 Page 2 of 9



 1   Roviaro v. United States, 353 U.S. 53, 60-61 (1957). Roviaro established no fixed
 2   rule with respect to the disclosure of a confidential informant. See id. at 62.
 3   Rather, a trial court must weigh the "particular circumstances" of the case at hand,
 4   the crime charged, the existence of possible defenses to the crime charged, and
 5   potential significance of the informant's testimony. Id.
 6      A.     If the Informant Was a Percipient Witnesses to, or Actively
 7             Participated in, the Negotiations and Transactions Leading to the
 8             Commission of the Alleged Crime, the Identity of the Informant Must
 9             Be Disclosed.
10
11           In this case, the testimony of the informant is material to the defense.

12   Informant/ “ Source of Information” in this case may have information relevant to
13
     the issues of entrapment, imperfect entrapment, and sentencing entrapment.
14
15     According to government discovery, the Source of Information (SOI) provided

16   the government information about money laundering beginning in January 2019.
17
     While informing, he assisted in 64 arrests and 120 seizures of money and drugs.
18
19   The SOI was clearly participating in criminal activity to have achieved these kinds

20   of results. While working for the government, nine months post January, the SOI
21
     assisted defendant Ramiro Gaxiola in setting up a bank account and directing him
22
23   to wire money to Mexico…from this same account. One of the criminal Complaints

24   delineates a “WhatsApp” communication between the SOI and defendant Gaxiola,
25
     evincing evidence of money laundering. (21mj 8906-RBM; ECF 1 at 3-4) Gaxiola,
26
27   age 35, has no criminal record… and there is no evidence of his “predisposition”
28                                           2
Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1048 Page 3 of 9



 1   to money launder. See U.S. v. McClelland, 72 F.3d 717, 722 (9th Cir. 1995).
 2
          The informant's testimony is both material and vital, even if the government
 3
 4   chooses not to call him as a witness, since the defense may subpoena the informant

 5   to present its case-in-chief. See Lopez-Hernandez v. United States, 394 F.2d 820,
 6
     821 (9th Cir. 1968); see also Velarde-Villarreal v. United States, 354 F.2d 9, 15
 7
 8   (9th Cir. 1965) (Ely, J., concurring and dissenting) (concluding that disclosure of
 9   the informant would have permitted defense counsel to raise the defense of
10
     entrapment and that the trial court's failure to order disclosure constituted error).
11
12         Therefore, this Court should order the government to disclose the informant's
13   identity.
14
     B.       The Government Must Produce the Confidential Informant Prior to
15
16   Trial for Defense Counsel's Interview of the Informant, Unless the Informant
17   is a charged Defendant
18
              The government's obligation is not fully satisfied by merely disclosing the
19
20   identity and location of the confidential informant[s]. Rather, defendant specifically
21   requests that the government produce the confidential informants prior to trial. The
22
     government "must use reasonable efforts to produce a government informant whose
23
24   presence has been properly requested by the defendant." United States v. Hart, 546
25
     F.2d 798, 799 (9th Cir. 1976).
26
          For the reasons cited above, it is clear the informant in this case is a material
27
28                                                 3
Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1049 Page 4 of 9



 1   witness. The government is required to disclose the identity of all material
 2
     witnesses, provide the witness' current and previous addresses, and make them
 3
 4   available for the preparation of the defense. Making the informant available for

 5   interview assumes the informant is not a charged defendant.
 6
     C.    In Camera Hearing.
 7
 8         This Court has considerable discretion in deciding whether an in camera
 9   hearing is necessary in determining when the government must release the
10
     informant's name and whereabouts to the defense. See, e.g., United States v.
11
12   Ordonez, 722 F.2d 530, 540-41 (9th Cir. 1983); see also United States v. Rawlinson,
13   487 F.2d 5, 7-8 (9th Cir. 1973). The Rawlinson court held that an in camera hearing
14
     was an appropriate means for determining whether the informant's identity and
15
16   testimony would be relevant and helpful to the defense. The in camera hearing is a
17   “favored procedure,” triggered by a “'minimal threshold showing' that disclosure
18
     would be relevant to at least one defense." United States v. Spires, 3 F.3d 1234,
19
20   1238 (9th Cir. 1993); see also United States v. Henderson, 241 F.3d 638, 645 (9th
21   Cir. 2000). While the court in United States v. Anderson refused to establish a fixed
22
     rule that requires disclosure of an informant's identity when probable cause is at
23
24   issue, it did approve the holding of an in camera hearing to which the defense
25
     counsel, but not the defendant, is admitted. U.S. v. Anderson, 509 F.2d 724, 729-30
26
     (9th Cir. 1974). In Ordonez, the court stated that "[t]o ensure that the informant
27
28                                              4
Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1050 Page 5 of 9



 1   is subjected to a vigorous examination, some trial courts have permitted the defense
 2
     counsel to submit a set of questions to be propounded by the court." Ordonez, 722
 3
 4   F.2d at 541 (internal citations omitted). The court held that the "procedure selected

 5   by the trial court should provide a substantial equivalent to the rights available to a
 6
     criminal defendant under the Fifth and Sixth Amendment[s]." Id. at 540-41.
 7
 8          Thus, the identity of the informant should be revealed well in advance of
 9   trial, or in the alternative, this Court should conduct an in camera hearing and allow
10
     defense counsel to participate… in order to determine whether the informant's
11
12   testimony is helpful and material to the defense.
13
     D.     Defendant Is Entitled to Information Regarding the Confidential
14
            Informant.
15
16          With respect to any informant or witness named in the discovery, and as to
17
     any other informant not yet made known to the defense, defendant requests
18
19   disclosure of all potential impeachment information. See United States v. Bernal-
20   Obeso, 989 F.2d 331, 335 (9th Cir. 1993), including…
21
     1) Any records and information revealing prior felony convictions for a crime
22
23        involving false statements or dishonesty, or juvenile adjudications attributed to
24        the informant, including, but not limited to, relevant “rap” sheets.
25
          See United States v. Alvarez-Lopez, 559 F.2d 1155 (9th Cir.1974).
26
27   2) Any record and information revealing prior misconduct or “bad acts”
28
                                             5
Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1051 Page 6 of 9



 1   attributed to the informant, including, but not limited to, any attributable acts of
 2
     misconduct. Fed. R. Evid. 608(b); Weinstein's Evidence ¶ 608[5] at 608-25 (1976).
 3
 4   3) Any and all consideration or promises of consideration given to the informant,

 5   or expected or promised. By "consideration," we refer to anything, whether
 6
     bargained for or not, which may be of value or use to them or to persons of concern
 7
 8   to him. This request includes, but is not limited to formal or informal, and direct or
 9   indirect leniency, favorable treatment or recommendations, or other assistance with
10
     respect to any pending or potential criminal, parole, probation, pardon, clemency,
11
12   civil, tax court, Internal Revenue Service, Court of Claims, administrative, or other
13   dispute with the United States. See, e.g., Territory of Guam v. Dela Rosa, 644 F.2d
14
     1257, 1259-60 (9th Cir. 1980) (citing error in failure to give instruction regarding
15
16   credibility of witness' testimony secured by promise not to prosecute in exchange
17   for cooperation); see also United States v. Holmes, 229 F.3d 782, 786 (9th Cir.
18
     2000).
19
20      "Consideration" also encompasses any favorable treatment or recommendations
21   with respect to criminal, civil or tax immunity grants, relief from forfeiture,
22
     payments of money, permission to keep fruits of criminal activity including cash,
23
24   vehicles, aircraft, rewards or fees, witness fees and special witness fees, provisions
25
     of food, clothing, shelter, transportation, legal services or other benefits, placement
26
     in a "witness protection program," and anything else that may reveal an
27
28                                       6
Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1052 Page 7 of 9



 1   interest, motive, or bias in favor of the government, or against the defense, or which
 2
     could be an inducement to testify or to “color” testimony. See United States v.
 3
 4   Thomas, 766 F. Supp 372 (W.D. Pa. 1991). Failure to produce such evidence is

 5   material in that it would affect the trial outcome. See United States v. Bagley, 473
 6
     U.S. 667, 676-77 (1985); see also United States v. Shaffer, 789 F.2d 682, 688 (9th
 7
 8   Cir. 1986); United States v. Mayer, 556 F.2d 245, 248 (5th Cir. 1977); United States
 9   v. Garza, 574 F.2d 298, 301-02 (5th Cir. 1978); cf. Holmes, 229 F.3d at 786
10
     (holding that jury instruction to view informant's testimony with caution is
11
12   warranted whenever a witness receives benefits for providing information to the
13   government); Dela Rosa, 644 F.2d at 1260.
14
         4) Any and all threats, express or implied, direct or indirect, or other coercion
15
16          directed    against   the   informant…whether        criminal    prosecutions,
17          investigations, or potential prosecutions , or which could be brought against
18
            him; any probationary, parole, deferred prosecution, or custodial status of
19
20          the witness and any civil, tax court, court of claims, administrative, or other
21          pending or potential legal disputes or transactions with the government…
22
            or over which the government has a real, apparent, or perceived influence.
23
24          See Davis v. Alaska, S. Ct. 308, 317-18 (1974); see also United States v.
25
            Alvarez-Lopez, 559 F.2d 1155, 1158-59 (9th Cir. 1977); United States v.
26
            Sutton, 542 F.2d 1239, 1241-42 (4th Cir. 1976).
27
28                                          7
Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1053 Page 8 of 9



 1         5) The existence and identification of each occasion on which the informant
 2
     has testified before the court, grand jury, or other tribunal in connection with this
 3
 4   or other similar cases. See Johnson v. Brewer, 521 F.2d 556, 562-63 (8th Cir. 1975).

 5         6) Any and all records and information which may be helpful or useful to the
 6
     defense in impeaching or otherwise detracting from the probative force of the
 7
 8   government's evidence, or which could lead to such records or such information.
 9   This request includes any evidence tending to show the narcotic habits of the
10
     informant at the time of relevant events. See, e.g., United States v. Bernard, 625
11
12   F.2d 854, 858-59 (9th Cir. 1980); see Dela Rosa, 644 F.2d at 1260. This
13   request also includes any evidence indicating the informant's personal dislike or
14
     hostility toward the defendant. See United States v. Weiss, 930 F.2d 185, 197 (2d
15
16   Cir. 1991); see also United States v. Huggett, 438 F.2d 396 (2d Cir. 1971).
17       7) The names and case numbers for all other criminal cases, state and federal
18
         in which the informant has been involved either as an informant or defendant.
19
20       Any prior criminal conduct on the part of the informant, either as an
21       informant or defendant, is relevant in establishing a possible defense of
22
         entrapment.
23
24
25
26
27
28                                             8
Case 3:21-cr-02546-GPC Document 414 Filed 05/31/22 PageID.1054 Page 9 of 9



 1
 2
 3   May 31, 2022

 4
 5                               “Douglas C. Brown”

 6                            Douglas C. Brown, Attorney

 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                        9
